      Case 2:14-cr-00131-WBV-MBN Document 967 Filed 12/31/20 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                        NO. 14-131

JACOBI BOYD                                                   SECTION D (5)


                                             ORDER

       Defendant Jacobi Boyd moves for compassionate release. 1 The Government

opposes the Motion. 2 Boyd has also filed a Supplemental Letter with the Court.3

After careful consideration of the Motion, the Government’s Opposition, Boyd’s

Supplemental Letter, the record, and the applicable law, the Court denies the Motion.

       On January 21, 2015, Jacobi Boyd pleaded guilty to conspiracy to possess with

intent to distribute at least twenty-eight grams of cocaine and conspiracy to possess

and    use     firearms     in    furtherance      of   his    drug     trafficking     activities.4

Boyd was sentenced to 480 months’ imprisonment. 5 Boyd is incarcerated at Jesup

FCI and his expected release date is July 15, 2035. 6

       Boyd now moves for compassionate release. 7 Boyd acknowledges he has failed

to exhaust his administrative remedies. The thrust of Boyd’s Motion is that various



1 R. Doc. 962.
2 R. Doc. 964.
3 R. Doc. 965 (sealed).
4 R. Doc. 175 (Plea Agreement); R. Doc. 183 (Minute Entry).
5 R. Doc. 405 at 2.
6 The Court relies on Inmate Locator, Federal Bureau of Prisons, https://www.bop.gov/inmateloc/ (last

visited Dec. 29, 2020) although Petitioner indicates a release date of 2038 in his Petition.
7 R. Doc. 964.
      Case 2:14-cr-00131-WBV-MBN Document 967 Filed 12/31/20 Page 2 of 4




Assistant United States Attorneys would speak highly of him, and, further, he is

truly remorseful and “wants to help the youth make better decisions.” 8 He also

notes that he has high blood pressure. The Government opposes Boyd’s Motion,

arguing that he has admittedly failed to exhaust his administrative remedies

and    his    Motion      otherwise does not demonstrate any “extraordinary and

compelling reasons” meriting his release. 9

        The Court does not find compassionate release appropriate in these

circumstances. First, Defendant has not exhausted his administrative remedies with

the BOP, which is statutorily required for compassionate release.                                 The

Compassionate Release statute statues:

                The Court may not modify a term of imprisonment once it
                has been imposed except . . . upon motion of the Director of
                the Bureau of Prisons, or upon motion of the defendant
                after the defendant has fully exhausted all administrative
                rights to appeal a failure of the Bureau of Prisons to bring
                a motion on the defendant’s behalf or the lapse of 30 days
                from the receipt of such a request by the Warden of the
                defendant’s facility, whichever is earlier . . . .

Every federal appeals court that has considered this matter to date has held that a

defendant must exhaust his or her administrative remedies with the BOP before a

court may consider a motion for compassionate release. 10 Specifically, the Fifth

Circuit has held that the exhaustion requirement is mandatory and that a prisoner


8 R. Doc. 962.
9 R. Doc. 964.
10 See United States v. Springer, No. 20-5000, 2020 WL 3989451, at *3-4 (10th Cir. July 15, 2020)

(holding that a defendant is required to request that the BOP file a compassionate release motion no
his or her behalf to initiate his administrative remedies); United States v. Alam, 960 F.3d 831 (6th Cir.
2020) (holding that exhaustion of administrative remedies under the compassionate release statute is
a mandatory claim-processing rule); United States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020) (holding
that failure to exhaust “presents a glaring roadblock foreclosing compassionate release”).

                                                   2
     Case 2:14-cr-00131-WBV-MBN Document 967 Filed 12/31/20 Page 3 of 4




must first file a request with the BOP before petitioning a court for compassionate

release. 11    Here, Boyd explicitly acknowledges that he has not satisfied his

administrative remedies. 12 This presents a “glaring roadblock” to Defendant’s motion

which prevents the Court from ordering compassionate release. 13

       Moreover, Defendant has failed to present any “extraordinary or compelling

reason” warranting a reduction. Under the Compassionate Release statute, the Court

may only reduce a Defendant’s sentence when it finds that (1) “extraordinary and

compelling reasons warrant such a reduction,” and (2) “that such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.”14

The application notes to the relevant policy statement identify three “extraordinary

and compelling reasons” that could possibly warrant a reduction: a “terminal illness”

or a condition that “substantially diminishes the ability of the defendant to provide

self-care within the environment of a correctional facility and from which he or she is

not expected to recover”; (b) “[a]ge”—starting at age 65; and (c) “[f]amily

[c]ircumstances.” 15 The Guidelines also identify a category of “[o]ther [r]easons,” but

note that those reasons are “[a]s determined by the Director of the Bureau of

Prisons.” 16

       Here, the thrust of Defendant’s motion is that he is remorseful for his crimes

and will live as a changed man upon release. Although commendable, and the Court


11 United States v. Franco, 973 F.3d 465, 468 (5th Cir. 2020).
12 R. Doc. 962 at 3 (Compassionate Release Motion noting that no request for release was submitted
to the warden because Boyd “didn’t think that [he] had met the requirements.”).
13 Raia, 954 F.3d at 597.
14 18 U.S.C. § 3582(c)(1)(A)(i).
15 See U.S.S.G. § 1B1.13, application note 1 (emphasis removed).
16 See id. § 1B1.13, application note 1(D) (emphasis removed).


                                                3
      Case 2:14-cr-00131-WBV-MBN Document 967 Filed 12/31/20 Page 4 of 4




has no reason to believe Defendant is not sincere in his intent, this is not a basis for

Compassionate Release. 17 In fact, the Court encourages Defendant to continue in

those efforts. Defendant does make a passing reference to one medical condition: high

blood pressure. But Defendant offers nothing to suggest that his high-blood pressure

rises to the level of a “terminal illness” or one which “substantially diminishes the

ability of the defendant to provide self-care” within the prison. 18 Courts have rejected

the idea that high blood pressure, even when compounded with fear of COVID-19

infection, is an appropriate reason for release. 19 The Court therefore finds that

Defendant has failed to demonstrate an “extraordinary and compelling reason” for

reduction in his sentence, and thus the Court must deny his Motion for

Compassionate Release.

       IT IS HEREBY ORDERED that Defendant’s Motion for Compassionate

Release is DENIED.

       New Orleans, Louisiana, December 31, 2020.



                                                       ______________________________________
                                                       WENDY B. VITTER
                                                       UNITED STATES DISTRICT JUDGE




17 See 28 U.S.C. § 994(t) (statute directing the sentencing commission to create guidelines related to
compassionate release and specifically stating that “[r]ehabilitation of the defendant alone shall not
be considered an extraordinary and compelling reason”).
18 U.S.S.G. § 1B1.13, application note 1.
19 See United States v. Wilfred, No. 07-351, 2020 WL 4365531, at *4 (E.D. La. July 30, 2020) (collecting

cases).

                                                   4
